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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

GRAYSON-BEY,

                               Plaintiff,             Civil Action No. 19-13588
                                                      Honorable Nancy G. Edmunds
v.                                                    Magistrate Judge David R. Grand

SOUTHFIELD POLICE DEPARTMENT,
OFFICER FOX, OFFICER MOORE,
MICHAEL WOJCHIECHOWSKI,

                        Defendants.
__________________________________/

              ORDER TO SHOW CAUSE AS TO PLAINTIFF’S FAILURE TO
                 RESPOND TO DEFENDANTS’ MOTION TO DISMISS

         Plaintiff Grayson-Bey brings this action alleging violations of his rights under the Fourth

Amendment and the Treaty of Peace and Friendship of 1787. (ECF No. 1.) Defendants filed a

Motion to Dismiss on June 12, 2020.          (ECF No. 18.)     Grayson-Bey failed to respond to

Defendants’ motion within 21 days as required by Local Rule 7.1, and as of today’s date, has still

not responded. See L.R. 7.1(e)(1)(A).

         Grayson-Bey’s failure to respond permits the Court to enter an Order to Show Cause as

to why the case should not be dismissed pursuant to Fed. R. Civ. P. 41(b). See Fed. R .Civ. P.

41(b).    Accordingly, by September 9, 2020, Grayson-Bey shall either file a response to

Defendants’ Motion to Dismiss or show cause in writing as to why this case should not be

dismissed for his failure to respond in accordance with the Court’s Order. Grayson-Bey is

expressly advised that his failure to comply with this Order to Show Cause will result in a

recommendation that this case be dismissed.

         IT IS SO ORDERED.
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Dated: August 26, 2020                                     s/David R. Grand
Ann Arbor, Michigan                                        DAVID R. GRAND
                                                           United States Magistrate Judge


                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on August 26, 2020.

                                                    s/Eddrey O. Butts
                                                    EDDREY O. BUTTS
                                                    Case Manager




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